JUDGE

CASE MANAGER

LAW CLERK

DATE

TIME

CIVIL ACTlON

STYLE

DOCKET ENTRY

 

l:| Conference; l§’@ing;

N\M \lw\\

m mm M\Cm w DOW.J MW/ M via/gm for ElPrf#

Case 4:18-cV-00161 Document 95 Filed in TXSD on 09/12/18

Civil Courtroorn Minutes

Page 1 of 1

 

Lynn N. Hughes

 

Glenda Hassan

 

mm |:| LeBouef |:|

 

 

 

 

‘I`/Iz/ZO¢§

 

 

 

 

 

H 18

 

 

 

 

 

im

 

 

 

 

 

 

YG.V\C\, cl- al ‘

 

V€FSUS

 

 

WWWi{ I\/lu,viv~e, el_~@.

 

 

for l:lPtf. #

m away MLL\M&MMHLMMJM ElPtf #

 

( ll\ri$'loDW LQ@`\\/l‘l‘l’ for E’l§tf. #_
U All motions not expressly decided are denied Without prejudice
E| Evidence taken [exhibits or testimony].
l:l Argument heard 0n: l:l all pending motions; l:.l these topics:

day |:| Bench |:l Jury Trial (Rptr:_DL/'_€g___)

E‘r%ft. #
E»D€fr. #
Er§a. #

l:| Deft. #

 

 

|:l Motions taken under advisement

E/ Order to be entered.

U/ Internal review set: ( §§@§¢C l

Rulings orally rendered 0n: \A,\D ‘ +v m

 

 

